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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 CBV, INC.,                                            )
                                                       )
                         Plaintiff,
                                                       )
                 v.
                                                       )     C.A. No. 21-1456-[MN]
                                                       )
 CHANBOND, LLC,
                                                       )
                         Defendant.                    )   [PUBLIC VERSION]


                           ANSWER TO FIRST AMENDED COMPLAINT1

       Defendant ChanBond, LLC (“Defendant”) hereby answers the First Amended Complaint

(D.I. 6) of Plaintiff CBV, Inc. (“Plaintiff”), as follows:

                                             INTRODUCTION

       1.      The allegations in paragraph 1 state legal conclusions to which no response is

required.   To the extent further response to paragraph 1 is required, Defendant denies the

allegations in paragraph 1 in their entirety, including the allegation that Plaintiff has been

“stymied” by any actions of Defendant. To the extent the allegations of paragraph 1 purport to

characterize the contents of the                                                               , that

document speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent

with that document.

       2.      The allegations in paragraph 2 state legal conclusions to which no response is

required. To the extent the allegations of paragraph 2 purport to characterize the contents of the



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          For ease of comparison between the allegations in Plaintiff’s First Amended Complaint
and Defendant’s responses thereto, Defendant has incorporated the “Headings” set forth in
Plaintiff’s First Amended Complaint. It should be understood, however, that Defendant does not
concede the characterizations in such “Headings[,]” and where appropriate or necessary, denies
such allegations.


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     , that document speaks for itself, and Defendant denies all allegations that are contrary to or

inconsistent with that document in their entirety. Defendant refers to the             for the true and

correct contents thereof.

        3.       Admitted.

        4.       Admitted.

        5.       Defendant denies the allegations set forth in sentence 1 of paragraph 5, including

that Plaintiff is entitled to           or any relief whatsoever. Defendant admits that ChanBond

has not made a payment in the amount of                   to Plaintiff. To the extent the allegations

of paragraph 5 purport to characterize the contents of the       , that document speaks for itself, and

Defendant denies all allegations that are contrary to or inconsistent with that document in their

entirety. Defendant refers to the       for the true and correct contents thereof.

        6.       Defendant denies the allegations set forth in paragraph 6 in their entirety. To the

extent the allegations of paragraph 6 purport to characterize the contents of the      , that document

speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers to the          for the true and correct contents thereof.

        7.       Defendant denies the allegations set forth in paragraph 7 in their entirety. To the

extent the allegations of paragraph 7 purport to characterize the contents of the        that document

speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers to the          for the true and correct contents thereof.

        8.       Defendant denies the allegations set forth in paragraph 8 in their entirety. To the

extent the allegations of paragraph 7 purport to characterize the contents of the                         ,

those documents speak for themselves, and Defendant denies all allegations that are contrary to or

inconsistent with those documents in their entirety. Defendant refers to the                        for




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the true and correct contents thereof.

        9.      Defendants admit the allegations in sentence 3 of paragraph 9. Defendant denies

the remaining allegations in paragraph 9 in their entirety. To the extent the remaining allegations

of paragraph 9 purport to characterize the contents of the                  , those documents speak

for themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                        for the true and correct

contents thereof.

        10.     Defendants admit that ChanBond and Ms. Leane entered into an

                                      .   The remaining allegations in paragraph 10 state legal

conclusions to which no response is required. To the extent further response to paragraph 10 is

required, Defendant denies the remaining allegations in paragraph 10 in their entirety. To the

extent the allegations of paragraph 10 purport to characterize the contents of the                  ,

those documents speak for themselves, and Defendant denies all allegations that are contrary to or

inconsistent with those documents in their entirety. Defendant refers to the                      for

the true and correct contents thereof.

        11.     The allegations in paragraph 11 state legal conclusions to which no response is

required. To the extent further response to paragraph 11 is required, Defendant denies the

allegations in paragraph 11 in their entirety. To the extent the allegations in paragraph 11 purport

to characterize the contents of the       , that document speaks for itself, and Defendant denies all

allegations that are contrary to or inconsistent with that document in their entirety. Defendant

refers to the       for the true and correct contents thereof.

        12.     Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in paragraph 12, and therefore denies the same. To the extent the




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remaining allegations of paragraph 12 purport to characterize the contents of the                that

document speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent

with that document in their entirety. Defendant refers to the       for the true and correct contents

thereof. To the extent further response to paragraph 12 is required, Defendant denies the

allegations in paragraph 12 in their entirety.

       13.     Defendant denies the allegations contained in paragraph 13 in their entirety.

       14.     The allegations in paragraph 14 state legal conclusions to which no response is

required. To the extent further response to paragraph 14 is required, Defendant denies the

allegations in paragraph 14 in their entirety, including that Plaintiff is entitled to any relief

whatsoever.

                                             JURISDICTION

       15.     Admitted.

       16.     Admitted.

       17.     Admitted.

                                                 THE PARTIES

       18.     Admitted.

       19.     Admitted.

                                      RELEVANT NON-PARTIES

       20.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations in paragraph 20, and therefore denies the same.

       21.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations in paragraph 21, and therefore denies the same.

       22.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations in paragraph 22, and therefore denies the same.


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         23.     Admitted as to sentences 1 and 3 of paragraph 23. Defendant admits that William

 “Billy” Carter is ChanBond, LLC’s manager and denies the remaining allegations in sentence 2 of

 paragraph 23.

         24.     Admitted that Mr. Carter is a resident of North Carolina and ChanBond, LLC’s

 manager. Defendant denies the remaining allegations in paragraph 24.

I.               The Parties and the Patents

         25.     Admitted as to sentence 1 of paragraph 25.        Defendant is without sufficient

 knowledge or information to form a belief as to the truth of the remaining allegations in paragraph

 25, and therefore denies the same.

         26.     Admitted.

         27.     Defendant is without sufficient knowledge or information to form a belief as to

 the truth of the allegations in paragraph 27, and therefore denies the same.

II.              The

         28.     Admitted.

         29.     Defendant denies the allegations contained in paragraph 29 in their entirety.

         30.     Defendant denies the allegations contained in paragraph 30 in their entirety.

         31.     Defendant denies the allegations contained in paragraph 31 in their entirety.

         32.     Defendant denies the allegations contained in paragraph 32 in their entirety.

         33.     Defendant denies the allegations contained in paragraph 33 in their entirety.

         34.     Defendant is without sufficient knowledge or information to form a belief as to

 the truth of the allegations in paragraph 34, and therefore denies the same.

         35.     Defendant is without sufficient knowledge or information to form a belief as to

 the truth of the allegations in paragraph 35, and therefore denies the same.




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        36.     Defendant denies the allegations in sentence 1 of paragraph 36. To the extent the

 remaining allegations of paragraph 36 purport to characterize the contents of the           , that

 document speaks for itself, and Defendant denies all remaining allegations that are contrary to or

 inconsistent with that document in their entirety. Defendant refers to the       for the true and

 correct contents thereof.

        37.     Defendant denies the allegations in paragraph 37, except Defendant admits that it

 retained Bentham as a financing partner.

        38.     Defendant admits that Defendant and Plaintiff executed the          and otherwise

 denies the remaining allegations contained in paragraph 38 in their entirety. To the extent the

 allegations of paragraph 38 purport to characterize the contents of an Amendment to the      , that

 document speaks for itself, and Defendant denies all remaining allegations that are contrary to or

 inconsistent with that document in their entirety. Defendant refers to the   and any amendments

 thereto for the true and correct contents thereof.

III.            The Patent Suits

        39.     Admitted.

        40.     Admitted.

        41.     Admitted.

        42.     Admitted.

        43.     Admitted.

        44.     Admitted.

        45.     Defendant admits the allegations in sentences 1 and 2 of paragraph 45. The

 remaining allegations in sentence 3 of paragraph 45 state legal conclusions to which no response

 is required. To the extent further response to paragraph 45 is required, Defendant denies the




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remaining allegations in paragraph 45 in their entirety. To the extent the remaining allegations of

paragraph 45 purport to characterize the contents of the        , that document speaks for itself, and

Defendant denies all remaining allegations that are contrary to or inconsistent with that document

in their entirety. Defendant refers to the       for the true and correct contents thereof.

IV.               The Invalid

       46.        Defendant denies the allegations in paragraph 46 in their entirety.

       47.        Defendant denies the allegations contained in paragraph 47 in their entirety. To the

extent the allegations of paragraph 47 purport to characterize the contents of the                    ,

those documents speak for themselves, and Defendant denies all allegations that are contrary to or

inconsistent with those documents in their entirety. Defendant refers to the                        for

the true and correct contents thereof.

       48.        Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in sentence 1 of paragraph 48, and therefore denies the same. Defendant

admits the remaining allegations in paragraph 48.

       49.        Defendant denies the allegations contained in paragraph 49 in their entirety. To the

extent the allegations of paragraph 49 purport to characterize the contents of the                    ,

that document speaks for itself, and Defendant denies all allegations that are contrary to or

inconsistent with that document in their entirety. Defendant refers to the                     for the

true and correct contents thereof.

V.     Leane and IPNav


       50.        Admitted. To the extent the allegations of paragraph 50 purport to characterize the

contents of the       , that document speaks for itself, and Defendant denies all allegations that are

contrary to or inconsistent with that document in their entirety. Defendant refers to the           for



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the true and correct contents thereof.

       51.     The allegations of paragraph 51 purport to characterize the contents of the       , and

that document speaks for itself. Defendant denies all allegations that are contrary to or inconsistent

with that document in their entirety. Defendant refers to the       for the true and correct contents

thereof.

       52.     Admitted that Mr. Carter is ChanBond, LLC’s manager. Defendant denies the

remaining allegations in paragraph 52.

       53.     The allegations in paragraph 53 state legal conclusions to which no response is

required. To the extent the allegations of paragraph 53 purport to characterize the contents of the

                 , those documents speak for themselves, and Defendant denies all allegations that

are contrary to or inconsistent with those documents in their entirety. Defendant refers to the

             for the true and correct contents thereof.

       54.     The allegations in paragraph 54 state legal conclusions to which no response is

required. To the extent further response is required, Defendant denies the allegations contained in

paragraph 54. To the extent the allegations of paragraph 54 purport to characterize the contents of

the                  , those documents speak for themselves, and Defendant denies all allegations

that are contrary to or inconsistent with those documents in their entirety. Defendant refers to the

                  for the true and correct contents thereof.

       55.     The allegations in paragraph 55 state legal conclusions to which no response is

required. To the extent further response is required, Defendant denies the allegations contained in

paragraph 55. To the extent the allegations of paragraph 55 purport to characterize the contents of

the                  , those documents speak for themselves, and Defendant denies all allegations

that are contrary to or inconsistent with those documents in their entirety. Defendant refers to the




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                  for the true and correct contents thereof.

       56.      Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in sentences 1 and 2 of paragraph 56, and therefore denies the same.

Defendant admits the allegations in sentences 3 and 4 of paragraph 56. To the extent the

allegations of paragraph 56 purport to characterize the contents of the      , that document speaks

for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers to the       for the true and correct contents thereof.

       57.      The allegations in paragraph 57 state legal conclusions to which no response is

required. To the extent further response is required, Defendant denies the allegations contained in

paragraph 57.

VI.    The Lawsuits Settle and CBV Is Entitled to at                              , But ChanBond
       Refuses to Pay

       58.      Defendant admits the allegations in paragraph 58 in their entirety.

       59.      Defendant denies the allegations in paragraph 59 in their entirety. To the extent the

allegations of paragraph 59 purport to characterize the contents of the      or an August 29, 2020

letter, those documents speak for themselves, and Defendant denies all allegations that are contrary

to or inconsistent with those documents in their entirety. Defendant refers to the

                                            for the true and correct contents thereof.

       60.      Defendant admits the allegations in paragraph 60 concerning Judge Andrews

having “entered a Joint Stipulation and Order for dismissal of the Patent Suits with prejudice as a

result of the parties agreement to ‘settle, adjust and compromise all claims; in the Patent Suits.”

Defendant denies the remaining allegations in paragraph 60 concerning “Section III[.]”

       61.      Defendant admits the allegations in sentence 1 of paragraph 61 that the Patent Suits

were settled. Defendant denies that they were settled pursuant to a “Settlement Agreement.”



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       62.     Defendant admits the allegations in sentence 1 of paragraph 62. Defendant denies

the allegations in sentence 2 of paragraph 62. Defendant denies the allegations in sentence 3 of

paragraph 62 that it has refused to provide Plaintiff with a copy of the Settlement Agreement, an

accounting of settlement funds, or any other information to Plaintiff, and denies Plaintiff is entitled

to receive any of this information. Defendant admits that it made payment of                         to

Plaintiff, but denies Plaintiff is entitled to any further payments or relief whatsoever. To the extent

the allegations of paragraph 62 purport to characterize the contents of the           , that document

speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers to the        for the true and correct contents thereof.

       63.     Plaintiff denies the allegations in sentence 1 of paragraph 63 that Plaintiff is entitled

to a portion of any recoveries from the Patent Suits. The remaining allegations in paragraph 63

state legal conclusions to which no response is required. To the extent further response to

paragraph 63 is required, Defendant denies the allegations in paragraph 63 in their entirety. To

the extent the allegations of paragraph 63 purport to characterize the contents of the            , that

document speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent

with that document in their entirety. Defendant refers to the        for the true and correct contents

thereof.

       64.     Defendant denies the allegations in paragraph 64 in their entirety. To the extent the

allegations of paragraph 64 purport to characterize the contents of the        , that document speaks

for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers to the        for the true and correct contents thereof.

       65.     The allegations in paragraph 65 state legal conclusions to which no response is

required. To the extent further response to paragraph 65 is required, Defendant denies the




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allegations in paragraph 65 in their entirety. To the extent the allegations of paragraph 65 purport

to characterize the contents of the       , that document speaks for itself, and Defendant denies all

allegations that are contrary to or inconsistent with that document in their entirety. Defendant

refers to the      for the true and correct contents thereof.

        66.     Defendant denies the allegations of paragraph 66.

        67.     Defendant denies the allegations in sentence 1 of paragraph 67, including that

Plaintiff is entitled to              or any relief whatsoever. Defendant admits the allegations in

sentence 2 of paragraph 67. Defendant denies the remaining allegations in paragraph 67 in their

entirety. To the extent the allegations of paragraph 67 purport to characterize the contents of the

     , as well as a July 14, 2021 email from Mark Raskin, those documents speak for themselves,

and Defendant denies all allegations that are contrary to or inconsistent with those documents in

their entirety. Defendant refers to the       and/or the July 14, 2021 email from Mark Raskin for

the true and correct contents thereof.

        68.     Defendant admits that Plaintiff received                   and denies that any other

amounts are due to Plaintiff under the        , as alleged in sentence 1 of paragraph 68. Defendant

denies the allegations in sentence 2 of paragraph 68, including that Defendant is required to pay

Plaintiff                      or that Plaintiff is entitled to any relief whatsoever. To the extent the

allegations of paragraph 68 purport to characterize the contents of the        , that document speaks

for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers to the         for the true and correct contents thereof.

        69.     Defendant denies the allegations contained in sentence 2 of paragraph 69. The

remaining allegations in paragraph 69 state legal conclusions to which no response is required. To

the extent further response is required, Defendant denies the allegations contained in paragraph




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69. To the extent the allegations of paragraph 69 purport to characterize the contents of the     ,

that document speaks for itself, and Defendant denies all allegations that are contrary to or

inconsistent with that document in their entirety. Defendant refers to the        for the true and

correct contents thereof.

       70.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations in paragraph 70, and, and therefore denies the same.

VII.   Deirdre Leane initiates false and misleading legal actions.

       71.     Admitted.

       72.     The allegations in paragraph 72 state legal conclusions to which no response is

required. To the extent further response is required, Defendant denies the allegations contained in

paragraph 72. To the extent the allegations of paragraph 72 purport to characterize the contents of

certain lawsuits, those documents speak for themselves, and Defendant denies all allegations that

are contrary to or inconsistent with those documents in their entirety. Defendant refers to the

referenced lawsuits for the true and correct contents thereof.

       73.     Defendant denies the allegations in sentence 1 of paragraph 73. Defendant is

without sufficient knowledge or information to form a belief as to the truth of the allegations in

sentence 2 of paragraph 73, and, and therefore denies the same. The remaining allegations

contained in paragraph 73 state legal conclusions to which no response is required. To the extent

the remaining allegations of paragraph 73 purport to characterize the contents of certain lawsuits,

those documents speak for themselves, and Defendant denies all allegations that are contrary to or

inconsistent with those documents in their entirety. Defendant refers to the referenced lawsuits

for the true and correct contents thereof.

       74.     Defendant denies the allegations in sentence 1 of paragraph 74 in their entirety.




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The remaining allegations of paragraph 74 state legal conclusions to which no response is response

is required. To the extent further response is required, Defendant denies the remaining allegations

contained in paragraph 74. To the extent the allegations of paragraph 74 purport to characterize

the contents of the     , that document speaks for itself, and Defendant denies all allegations that

are contrary to or inconsistent with that document in their entirety. Defendant refers to the

for the true and correct contents thereof.

        75.     Defendant denies the allegations contained in paragraph 75 in their entirety. To the

extent the allegations of paragraph 75 purport to characterize the contents of the                 ,

those documents speak for themselves, and Defendant denies all allegations that are contrary to or

inconsistent with those documents in their entirety. Defendant refers to the                     for

the true and correct contents thereof.

        76.     The allegations contained in paragraph 76 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 76. To the extent the allegations of paragraph 76 purport to characterize

the contents of the     , that document speaks for itself, and Defendant denies all allegations that

are contrary to or inconsistent with that document in their entirety. Defendant refers to the

for the true and correct contents thereof.

        77.     The allegations contained in paragraph 77 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 77 in their entirety. To the extent the allegations of paragraph 77 purport

to characterize the contents of the      , that document speaks for itself, and Defendant denies all

allegations that are contrary to or inconsistent with that document in their entirety. Defendant

refers to the     for the true and correct contents thereof.




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         78.   The allegations contained in sentence one of paragraph 78 state legal conclusions

to which no response is required. To the extent further response is required, Defendant denies the

remaining allegations contained in sentence 1 of paragraph 78 in their entirety. Defendant denies

the remaining allegations in sentences 2, 3, and 4 of paragraph 78 in their entirety. To the extent

the allegations of paragraph 78 purport to characterize the contents of the           , that document

speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers to the         for the true and correct contents thereof.

         79.   Defendant admits the          was terminated. The remaining allegations contained

in paragraph 79 state legal conclusions to which no response is required. To the extent further

response to paragraph 79 is required, Defendant denies the remaining allegations in paragraph 79

in their entirety. To the extent the allegations of paragraph 79 purport to characterize the contents

of the                                                 , those documents speak for themselves, and

Defendant denies all allegations that are contrary to or inconsistent with those documents in their

entirety. Defendant refers to the                                              for the true and correct

contents thereof.

         80.   The allegations contained in paragraph 80 purports to characterize assertions made

in an Arbitration, which speak for themselves. Defendant denies all allegations that are contrary

to or inconsistent with those assertions. Defendant refers to those assertions for the true and correct

contents thereof.

         81.   Admitted.

         82.   The allegations contained in paragraph 82 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 82. To the extent the allegations of paragraph 82 purport to characterize




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the contents of the      , that document speaks for itself, and Defendant denies all allegations that

are contrary to or inconsistent with that document in their entirety. Defendant refers to the

for the true and correct contents thereof.

        83.     The allegations contained in paragraph 83 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 83. To the extent the allegations of paragraph 83 purport to characterize

the contents of the                                     and/or any other agreement, those documents

speak for themselves, and Defendant denies all allegations that are contrary to or inconsistent with

those documents in their entirety. Defendant refers to the                                    and/or

any other agreement for the true and correct contents thereof.

        84.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations in sentence 1 of paragraph 84, and therefore denies the same. The

remaining allegations contained in sentences two and three of paragraph 84 state legal conclusions

to which no response is required. To the extent further response to sentences two and three of

paragraph 84 is required, Defendant denies the remaining allegations contained in sentences 2 and

3 of paragraph 84 in their entirety. To the extent the allegations of paragraph 84 purport to

characterize the contents of the       , that document speaks for itself, and Defendant denies all

allegations that are contrary to or inconsistent with that document in their entirety. Defendant

refers to the     for the true and correct contents thereof.

                                                   COUNT I
                                             (Specific Performance)

        85.     Defendant incorporates by reference its responses to the allegations contained in

paragraphs 1 through 84, above, as if fully set forth herein.

        86.     Admitted.



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         87.       The allegations contained in paragraph 87 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 87.

         88.       Admitted.

         89.       Admitted.

         90.       The allegations contained in paragraph 90 state legal conclusions to which no

response is required. To the extent further response to paragraph 90 is required, Defendant denies

the allegations in paragraph 90 in their entirety. To the extent the allegations of paragraph 90

purport to characterize the contents of the           , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the          for the true and correct contents thereof.

         91.       Defendant denies the allegations in paragraph 91 that Plaintiff is entitled to at least

                 or any relief whatsoever. To the extent the allegations of paragraph 91 purport to

characterize the contents of the          , that document speaks for itself, and Defendant denies all

allegations that are contrary to or inconsistent with that document in their entirety. Defendant

refers to the        for the true and correct contents thereof.

         92.       Defendant denies the allegations in paragraph 92 that Plaintiff is entitled to any

funds or relief whatsoever. Defendant admits that it refuses to pay Plaintiff pursuant to

                    . To the extent the allegations of paragraph 92 purport to characterize the contents

of the         , that document speaks for itself, and Defendant denies all allegations that are contrary

to or inconsistent with that document in their entirety. Defendant refers to the             for the true

and correct contents thereof.

         93.       Defendant denies the allegations in sentence 1 of paragraph 93 that Plaintiff is




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entitled to any funds or relief whatsoever. Defendant admits the allegation in sentence 2 of

paragraph 93 that Defendant has refused to provide Plaintiff “with a copy of the Settlement

Agreement”.    Defendant denies the allegations in sentence 2 of paragraph 93 regarding a

contractual obligation to provide information under the         . To the extent the allegations of

paragraph 93 purport to characterize the contents of the      , that document speaks for itself, and

Defendant denies all allegations that are contrary to or inconsistent with that document in their

entirety. Defendant refers to the      for the true and correct contents thereof.

       94.     The allegations contained in paragraph 94 state legal conclusions to which no

response is required. To the extent a response to paragraph 94 is required, Defendant denies the

allegations contained in paragraph 94. To the extent the allegations contained in paragraph 94

purport to characterize the contents of the      , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the      for the true and correct contents thereof.

       95.     The allegations contained in paragraph 95 state legal conclusions to which no

response is required. To the extent further response to paragraph 95 is required, Defendant denies

the allegations in paragraph 95 in their entirety. To the extent the allegations of paragraph 95

purport to characterize the contents of the      , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the      for the true and correct contents thereof.

       96.     Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations in paragraph 96, and, and therefore denies the same.

       97.     The allegations contained in paragraph 97 state legal conclusions to which no

response is required. To the extent further response to paragraph 97 is required, Defendant denies




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the allegations in paragraph 97 in their entirety. To the extent the allegations of paragraph 97

purport to characterize the contents of the        , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety,

including that Plaintiff is entitled to any relief whatsoever. Defendant refers to the          for the

true and correct contents thereof.

       98.     The allegations contained in paragraph 98 state legal conclusions to which no

response is required. To the extent further response to paragraph 98 is required, Defendant denies

the allegations in paragraph 98 in their entirety. To the extent the allegations of paragraph 98

purport to characterize the contents of the        , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety,

including that Plaintiff is entitled to any relief whatsoever. Defendant refers to the          for the

true and correct contents thereof.

       99.     The allegations contained in paragraph 99 state legal conclusions to which no

response is required. To the extent further response to paragraph 99 is required, Defendant denies

the allegations in paragraph 99 in their entirety, including that Plaintiff is entitled to any relief

whatsoever. To the extent the allegations of paragraph 99 purport to characterize the contents of

the     , that document speaks for itself, and Defendant denies all allegations that are contrary to

or inconsistent with that document in their entirety, including that Plaintiff is entitled to any relief

whatsoever. Defendant refers to the         for the true and correct contents thereof.

                                              COUNT II
      (Breach of Contract –                                and                                  )
                                          In the Alternative

       100.    Defendant incorporates by reference its responses to the allegations contained in

paragraphs 1 through 99, above, as if fully set forth herein.




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        101.     Admitted.

        102.     The allegations contained in paragraph 102 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 102.

        103.     Defendant denies the allegations in paragraph 103 concerning Plaintiff’s purported

entitlement to

                                   .   To the extent the allegations of paragraph 103 purport to

characterize the contents of the        , that document speaks for itself, and Defendant denies all

allegations that are contrary to or inconsistent with that document in their entirety. Defendant

refers to the      for the true and correct contents thereof.

        104.     Defendant admits the allegations of paragraph 104 that the Patent Suits were settled.

Defendant denies that they were settled pursuant to a “Settlement Agreement.”

        105.     Admitted.

        106.     Defendant denies that Plaintiff is entitled to at least                 or any relief

whatsoever. To the extent the allegations of paragraph 106 purport to characterize the contents of

the       that document speaks for itself, and Defendant denies all allegations that are contrary to

or inconsistent with that document in their entirety. Defendant refers to the          for the true and

correct contents thereof.

        107.     Defendant admits that it refuses to pay Plaintiff additional funds and denies that

Plaintiff is entitled to any funds or relief whatsoever. To the extent the allegations of paragraph

107 purport to characterize the contents of the        , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the        for the true and correct contents thereof.




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       108.    Defendant denies the allegations in sentence 1 and sentence 2 of paragraph 108 in

their entirety. Defendant admits the allegations in sentence 3 of paragraph 108 that Defendant has

refused to provide Plaintiff “with a copy of the Settlement Agreement”. To the extent the

allegations of paragraph 108 purport to characterize the contents of the       , that document speaks

for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers to the         for the true and correct contents thereof.

       109.    The allegations contained in sentence 1 of paragraph 109 state legal conclusions to

which no response is required. To the extent further response to sentence 1 of paragraph 109 is

required, Defendant denies the allegations in sentence 1 of paragraph 109 in their entirety.

Defendant admits the allegations in sentence 2 of paragraph 109. To the extent the allegations of

paragraph 109 purport to characterize the contents of the       , that document speaks for itself, and

Defendant denies all allegations that are contrary to or inconsistent with that document in their

entirety. Defendant refers to the      for the true and correct contents thereof.

       110.    The allegations contained in sentence 1 of paragraph 110 state legal conclusions to

which no response is required. To the extent further response to sentence 1 of paragraph 110 is

required, Defendant denies the remaining allegations in sentence 1 of paragraph 110 in their

entirety. Defendant denies the allegations contained in sentence 2 of paragraph 110 in their

entirety. Defendant is without sufficient knowledge or information to form a belief as to the truth

of the allegations in sentence 3 of paragraph 110, and therefore denies the same. To the extent the

allegations of paragraph 110 purport to characterize the contents of the       , that document speaks

for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers to the         for the true and correct contents thereof.

       111.    The allegations contained in paragraph 111 state legal conclusions to which no




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response is required. To the extent further response to paragraph 111 is required, Defendant denies

the allegations in paragraph 111 in their entirety. To the extent the allegations of paragraph 111

purport to characterize the contents of the           , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the             for the true and correct contents thereof. To the extent further

response is required, Defendant denies the allegations contained in paragraph 111.

        112.      Defendant denies the allegations contained in paragraph 112 that it has breached

the        , and that Plaintiff is entitled to                           any relief whatsoever. To the

extent the allegations of paragraph 112 purport to characterize the contents of the               , that

document speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent

with that document in their entirety. Defendant refers to the          for the true and correct contents

thereof.

        113.      Defendant is without sufficient knowledge or information to form a belief as to the

truth of the allegations in paragraph 113, and therefore denies the same, including that Defendant

is entitled to any relief whatsoever. To the extent the allegations of paragraph 113 purport to

characterize the contents of the            , that document speaks for itself, and Defendant denies all

allegations that are contrary to or inconsistent with that document in their entirety. Defendant

refers to the        for the true and correct contents thereof.

                                                COUNT III
                                         (Breach of Contract –     )

        114.      Defendant incorporates by reference its responses to the allegations contained in

paragraphs 1 through 113, above, as if fully set forth herein.

        115.      Admitted.

        116.      The allegations contained in paragraph 116 state legal conclusions to which no



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response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 116.

       117.    Admitted. To the extent the allegations of paragraph 117 purport to characterize

the contents of the     , that document speaks for itself, and Defendant denies all allegations that

are contrary to or inconsistent with that document in their entirety. Defendant refers to the

for the true and correct contents thereof.

       118.    The allegations contained in paragraph 118 state legal conclusions to which no

response is required. To the extent further response to paragraph 118 is required, Defendant denies

the allegations in paragraph 118 in their entirety. To the extent the allegations of paragraph 118

purport to characterize the contents of the                            , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                                for the true and

correct contents thereof.

       119.    Admitted that Mr. Carter is ChanBond, LLC’s manager. Defendant denies the

remaining allegations in paragraph 119.

       120.    The allegations contained in paragraph 120 state legal conclusions to which no

response is required. To the extent further response to paragraph 120 is required, Defendant denies

the allegations in paragraph 120 in their entirety. To the extent the allegations of paragraph 120

purport to characterize the contents of the                          , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                        for the true and correct

contents thereof.

       121.    The allegations contained in paragraph 121 state legal conclusions to which no




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response is required. To the extent further response to paragraph 121 is required, Defendant denies

the allegations in paragraph 121 in their entirety. To the extent the allegations of paragraph 121

purport to characterize the contents of the                          , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                        for the true and correct

contents thereof.

       122.    The allegations contained in paragraph 122 state legal conclusions to which no

response is required. To the extent further response to paragraph 122 is required, Defendant denies

the allegations in paragraph 122 in their entirety. To the extent the allegations of paragraph 122

purport to characterize the contents of the                          , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                       for the true and correct

contents thereof.

       123.    Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in paragraph 123, and therefore denies the same.

       124.    Defendant denies the allegations in paragraph 124 that Defendant has breached the

     by entering into the       . To the extent further response to paragraph 124 is required,

Defendant denies the allegations in paragraph 124 in their entirety. To the extent the allegations

of paragraph 124 purport to characterize the contents of the                                , those

documents speak for themselves, and Defendant denies all allegations that are contrary to or

inconsistent with those documents in their entirety. Defendant refers to the

     for the true and correct contents thereof.

       125.    Defendant denies the allegations in paragraph 125 regarding Plaintiff’s purported




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breaches of the       in their entirety and denies that Plaintiff is entitled to any relief whatsoever.

                                            COUNT IV
                                   (Declaratory Judgment –         )

       126.    Defendant incorporates by reference its responses to the allegations contained in

paragraphs 1 through 125, above, as if fully set forth herein.

       127.    Admitted.

       128.    The allegations contained in paragraph 128 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 128 in their entirety.

       129.    Admitted. To the extent the allegations of paragraph 129 purport to characterize

the contents of the     , that document speaks for itself, and Defendant denies all allegations that

are contrary to or inconsistent with that document in their entirety. Defendant refers to the

for the true and correct contents thereof.

       130.    The allegations contained in paragraph 130 state legal conclusions to which no

response is required. To the extent further response to paragraph 130 is required, Defendant denies

the allegations in paragraph 130 in their entirety. To the extent the allegations of paragraph 130

purport to characterize the contents of the                               , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the I                                 for the true and

correct contents thereof.

       131.    Admitted that Mr. Carter is ChanBond, LLC’s manager. Defendant denies the

remaining allegations in paragraph 131.

       132.    The allegations contained in paragraph 132 state legal conclusions to which no

response is required. To the extent further response to paragraph 132 is required, Defendant denies



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the allegations in paragraph 132 in their entirety. To the extent the allegations of paragraph 132

purport to characterize the contents of the                           , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                        for the true and correct

contents thereof.

       133.    The allegations contained in paragraph 133 state legal conclusions to which no

response is required. To the extent further response to paragraph 133 is required, Defendant denies

the allegations in paragraph 133 in their entirety. To the extent the allegations of paragraph 133

purport to characterize the contents of the                           , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                         for the true and correct

contents thereof.

       134.    The allegations contained in paragraph 134 state legal conclusions to which no

response is required. To the extent further response to paragraph 134 is required, Defendant denies

the allegations in paragraph 134 in their entirety. To the extent the allegations of paragraph 134

purport to characterize the contents of the                           , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                        for the true and correct

contents thereof.

       135.    Defendant denies the allegations concerning purported breaches of the              in

subparagraphs a and b of paragraph 135 in their entirety and that Plaintiff is entitled to any relief

whatsoever. To the extent the allegations of paragraph 135 purport to characterize the contents of

the                             , those documents speak for themselves, and Defendant denies all




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allegations that are contrary to or inconsistent with those documents in their entirety. Defendant

refers to the                            for the true and correct contents thereof.

                                            COUNT V
                               (Declaratory Judgment –              )

        136.    Defendant incorporates by reference its responses to the allegations contained in

paragraphs 1 through 135, above, as if fully set forth herein.

        137.    The allegations contained in paragraph 137 state legal conclusions to which no

response is required. To the extent further response to paragraph 137 is required, Defendant denies

the allegations in paragraph 137 in their entirety. To the extent the allegations of paragraph 137

purport to characterize assertions of a third-party, those assertions speak for themselves, and

Defendant denies all allegations that are contrary to or inconsistent with those assertions in their

entirety. Defendant refers to the such assertions and to                     for the true and correct

contents thereof.

        138.    Admitted. To the extent the allegations of paragraph 138 purport to characterize

the contents of the       hat document speaks for itself, and Defendant denies all allegations that

are contrary to or inconsistent with that document in their entirety. Defendant refers to the

for the true and correct contents thereof.

        139.    The allegations contained in paragraph 139 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 139.

        140.    The allegations contained in paragraph 140 state legal conclusions to which no

response is required. To the extent further response to paragraph 140 is required, Defendant denies

the allegations in paragraph 140 in their entirety. To the extent the allegations of paragraph 140

purport to characterize the contents of the       , that document speaks for itself, and Defendant



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denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the        for the true and correct contents thereof.

       141.       The allegations contained in paragraph 141 state legal conclusions to which no

response is required. To the extent further response to paragraph 141 is required, Defendant denies

the allegations in paragraph 141 in their entirety. To the extent the allegations of paragraph 141
                                                  2
purport to characterize the contents of the           , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the        for the true and correct contents thereof.

       142.       The allegations contained in paragraph 142 state legal conclusions to which no

response is required. To the extent further response to paragraph 142 is required, Defendant denies

the allegations in paragraph 142 in their entirety. To the extent the allegations of paragraph 142

purport to characterize the contents of the                             , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                           for the true and correct

contents thereof.

       143.       Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in paragraph 143, and therefore denies the same.

       144.       The allegations contained in paragraph 144 state legal conclusions to which no

response is required. To the extent the allegations of paragraph 144 purport to characterize the

contents of the                       , those documents speak for themselves, and Defendant denies

all allegations that are contrary to or inconsistent with those documents in their entirety. Defendant



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          Plaintiff refers to the      in paragraph 142, and Defendant will presume Plaintiff is
referring to the       for the sole purpose of responding to the allegations in paragraph 142 of
Plaintiff’s First Amended Complaint.


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refers to the                       for the true and correct contents thereof.

        145.      Defendant admits the          was terminated. To the extent the allegations of

paragraph 145 purport to characterize the contents of the

            , those documents speak for themselves, and Defendant denies all allegations that are

contrary to or inconsistent with those documents in their entirety. Defendant refers to the

                                         for the true and correct contents thereof.

        146.      The allegations contained in paragraph 146 state legal conclusions to which no

response is required. To the extent further response to paragraph 146 is required, Defendant denies

the allegations in paragraph 146 in their entirety. To the extent the allegations of paragraph 146

purport to characterize the contents of a                                             , those documents

speak for themselves, and Defendant denies all allegations that are contrary to or inconsistent with

theses document in their entirety. Defendant refers to the                                          for

the true and correct contents thereof.

        147.      The allegations contained in paragraph 147 state legal conclusions to which no

response is required. To the extent the allegations of paragraph 147 purport to characterize the

contents of the       , that document speaks for itself, and Defendant denies all allegations that are

contrary to or inconsistent with that document in their entirety. Defendant refers to the           for

the true and correct contents thereof.

        148.      The allegations contained in paragraph 148 state legal conclusions to which no

response is required. To the extent further response to paragraph 148 is required, Defendant denies

the allegations in paragraph 148 in their entirety. To the extent the allegations of paragraph 148

purport to characterize the contents of the                                           , these documents

speak for themselves, and Defendant denies all allegations that are contrary to or inconsistent with




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theses document in their entirety. Defendant refers to the                                         for

the true and correct contents thereof.

       149.    Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in paragraph 149, and therefore denies the same.

       150.    Defendant denies the allegations in paragraph 150 that Plaintiff is entitled to

              or any relief whatsoever and that Defendant breached the            . To the extent the

allegations of paragraph 150 purport to characterize the contents of the       , that document speaks

for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers          for the true and correct contents thereof.

       151.    Defendant denies the allegations in paragraph 151 in their entirety. To the extent

the allegations of paragraph 151 purport to characterize the contents of the          , that document

speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers          for the true and correct contents thereof.

       152.    Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations of this paragraph, and therefore denies the same.

       153.    Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in sentence 1 of paragraph 153, and therefore denies the same.

Defendant denies the allegations in sentence 2 of paragraph 153.

       154.    Defendant denies the allegations in paragraph 154 that Defendant has breached the

                               . The remaining allegations contained in paragraph 154 state legal

conclusions to which no response is required. To the extent further response to the allegations in

paragraph 154 is required, Defendant denies the remaining allegations in paragraph 154 in their

entirety. To the extent the allegations of paragraph 154 purport to characterize the contents of the




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                     , those documents speak for themselves, and Defendant denies all allegations

that are contrary to or inconsistent with those documents in their entirety. Defendant refers to the

                      for the true and correct contents thereof.

       155.    Defendant denies the allegations concerning purported breaches of the               and

denies that Plaintiff is entitled to any relief whatsoever. To the extent the allegations of paragraph

155 purport to characterize the contents of the        , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the       for the true and correct contents thereof.

                                           COUNV VI
                                        Against ChanBond
                               (Declaratory Judgment –                 )

       156.    Defendant incorporates by reference its responses to the allegations contained in

paragraphs 1 through 155, above, as if fully set forth herein.

       157.    The allegations contained in paragraph 157 state legal conclusions to which no

response is required. To the extent further response to paragraph 157 is required, Defendant denies

the allegations in paragraph 157 in their entirety. To the extent the allegations of paragraph 157

purport to characterize assertions of a third-party, those assertions speak for themselves, and

Defendant denies all allegations that are contrary to or inconsistent with those assertions in their

entirety. Defendant refers to those assertions, and to the                            for the true and

correct contents thereof.

       158.    Admitted.

       159.    The allegations contained in paragraph 159 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 159.




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       160.    The allegations contained in paragraph 160 state legal conclusions to which no

response is required. To the extent further response to paragraph 160 is required, Defendant denies

the allegations in paragraph 160 in their entirety. To the extent the allegations of paragraph 160

purport to characterize the contents of the      , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the      for the true and correct contents thereof.

       161.    The allegations contained in paragraph 161 state legal conclusions to which no

response is required. To the extent further response to paragraph 161 is required, Defendant denies

the allegations in paragraph 161 in their entirety. To the extent the allegations of paragraph 161

purport to characterize the contents of the      , that document speaks for itself, and Defendant

denies all allegations that are contrary to or inconsistent with that document in their entirety.

Defendant refers to the      for the true and correct contents thereof.

       162.    The allegations contained in paragraph 162 state legal conclusions to which no

response is required. To the extent further response to paragraph 162 is required, Defendant denies

the allegations in paragraph 162 in their entirety. To the extent the allegations of paragraph 162

purport to characterize the contents of the                          , those documents speak for

themselves, and Defendant denies all allegations that are contrary to or inconsistent with those

documents in their entirety. Defendant refers to the                        for the true and correct

contents thereof.

       163.    Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in paragraph 163, and therefore denies the same.

       164.    The allegations contained in paragraph 164 state legal conclusions to which no

response is required. To the extent the allegations of paragraph 164 purport to characterize the




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contents of the                       , those documents speak for themselves, and Defendant denies

all allegations that are contrary to or inconsistent with those documents in their entirety. Defendant

refers to the                        for the true and correct contents thereof.

         165.     Admitted. To the extent the allegations of paragraph 165 purport to characterize

the contents of the       , that documents speaks for itself, and Defendant denies all allegations that

are contrary to or inconsistent with that documents in their entirety. Defendant refers to the

for the true and correct contents thereof.

         166.     The allegations contained in paragraph 166 state legal conclusions to which no

response is required. To the extent further response to paragraph 166 is required, Defendant denies

the allegations in paragraph 166 in their entirety. To the extent the allegations of paragraph 166

purport to characterize assertions of a third-party or the contents of a

     , these documents and/or assertions speak for themselves, and Defendant denies all

allegations that are contrary to or inconsistent with these assertions and/or documents in their

entirety. Defendant refers to the referenced assertions and to the

      for the true and correct contents thereof.

         167.     Defendant denies allegations contained in paragraph 167 in their entirety. To the

extent the allegations of paragraph 167 purport to characterize the contents of the              , that

document speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent

with that document in their entirety. Defendant refers to the         for the true and correct contents

thereof.

         168.     Defendant denies the allegations in paragraph 168 that Defendant breached the

in their entirety. To the extent the allegations of paragraph 168 purport to characterize the contents

of the                                                  , these documents speak for themselves, and




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Defendant denies all allegations that are contrary to or inconsistent with theses document in their

entirety. Defendant refers to the                                                     for the true and

correct contents thereof.

       169.    Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in paragraph 169, and therefore denies the same.

       170.    Defendant denies the allegations in paragraph 170 that Plaintiff is entitled to

              or any relief whatsoever and that Defendant breached the            . To the extent the

allegations of paragraph 170 purport to characterize the contents of the       , that document speaks

for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers          for the true and correct contents thereof.

       171.    Defendant denies the allegations in paragraph 171 in their entirety. To the extent

the allegations of paragraph 171 purport to characterize the contents of the          , that document

speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent with that

document in their entirety. Defendant refers          for the true and correct contents thereof.

       172.    Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations of this paragraph, and therefore denies the same.

       173.    Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations of this paragraph, and therefore denies the same.

       174.    Defendant denies the allegations in paragraph 174 that Defendant has breached the

     by entering into the      . The remaining allegations contained in paragraph 174 state legal

conclusions to which no response is required. To the extent further response to paragraph 174 is

required, Defendant denies the remaining allegations in paragraph 174 in their entirety. To the

extent the allegations of paragraph 174 purport to characterize the contents of the




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    , those documents speak for themselves, and Defendant denies all allegations that are contrary

to or inconsistent with those documents in their entirety. Defendant refers to the

     for the true and correct contents thereof.

       175.    Defendant denies the allegations concerning purported breaches of the             in

subparagraphs a and b of paragraph 175 and that Plaintiff is entitled to any relief whatsoever. To

the extent the allegations of paragraph 175 purport to characterize the contents of the

         , those documents speak for themselves, and Defendant denies all allegations that are

contrary to or inconsistent with those documents in their entirety. Defendant refers to the

                for the true and correct contents thereof.

                                           COUNT VII
                                        (Injunctive Relief)

       176.    Defendant incorporates by reference its responses to the allegations contained in

paragraphs 1 through 175, above, as if fully set forth herein.

       177.    Admitted.

       178.    The allegations in paragraph 178 state legal conclusions to which no response is

required. To the extent further response to paragraph 178 is required, Defendant denies the

allegations in paragraph 178 in their entirety

       179.    The allegations contained in paragraph 179 state legal conclusions to which no

response is required. To the extent further response is required, Defendant denies the allegations

contained in paragraph 179.

       180.    Defendant denies the allegations contained in sentence 1 of paragraph 180 in their

entirety. Defendant is without sufficient knowledge or information to form a belief as to

the truth of the allegations in sentence 2 of paragraph 180, and therefore denies the same. To the

extent the allegations of paragraph 180 purport to characterize the contents of the           , that



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document speaks for itself, and Defendant denies all allegations that are contrary to or inconsistent

with that document in their entirety. Defendant refers to the         for the true and correct contents

thereof.

        181.     Admitted.

        182.     Defendant denies the allegations in paragraph 182 in their entirety, including that

Plaintiff is entitled to                      or any relief whatsoever.

        183.     Defendant denies the allegations in paragraph 183 in their entirety.

        184.     The allegations in paragraph 184 state legal conclusions to which no response is

required. To the extent further response to paragraph 184 is required, Defendant denies the

allegations in their entirety. To the extent the allegations of paragraph 184 purport to characterize

the contents of the        , that document speaks for itself, and Defendant denies all allegations that

are contrary to or inconsistent with that document in their entirety. Defendant refers to the

for the true and correct contents thereof.

        185.     The allegations in sentence 1 of paragraph 185 state legal conclusions to which no

response is required. To the extent further response to sentence 1 of paragraph 185 is required,

Defendant denies the remaining allegations contained in sentence 1 of paragraph 185. Defendant

denies the allegations in sentence 2 of paragraph 185 in their entirety, including that Plaintiff has

been or will be irreparably harmed. Defendant is without sufficient knowledge or information to

form a belief as to the truth of the allegations in sentence 3 of paragraph 185, and therefore denies

the same. To the extent the allegations of paragraph 185 purport to characterize the contents of

the        , that document speaks for itself, and Defendant denies all allegations that are contrary to

or inconsistent with that document in their entirety. Defendant refers to the           for the true and

correct contents thereof.




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       186.    The allegations in paragraph 186 state legal conclusions to which no response is

required. To the extent further response is required, Defendant denies the allegations contained in

paragraph 186, including that Plaintiff is entitled to any relief whatsoever.

                                         PRAYER FOR RELIEF

       The statements contained in paragraphs a-g of the Wherefore clause in the First Amended

Complaint (D.I. 6 at 35-36) refer to the relief sought by Plaintiff in this action, for which no

response is required. To the extent a response is required, Defendant denies that Plaintiff is entitled

to any relief whatsoever, including the relief sought in paragraphs a-g of the Wherefore clause.

                                  AFFIRMATIVE DEFENSES

       Subject to and without waiving any response set forth above, Defendant sets forth its

separate and distinct defenses to the First Amended Complaint. By pleading the following

defenses, as provided for pursuant to Fed. R. Civ. P. 8(c), Defendant does not concede that it

possesses or assumes the burden to prove each or any of them. Defendant maintains that Plaintiff

retains the burden of proof on all matters necessary to state and sustain the claims asserted in their

baseless First Amended Complaint.

       Defendant reserves the right to assert additional defenses, affirmative or otherwise, upon

further investigation and discovery into the matters alleged. Defendant asserts all applicable

statutory limitations with respect to Plaintiff’s claims in the First Amended Complaint.

                               FIRST AFFIRMATIVE DEFENSE

       Plaintiff has failed to state a claim for which relief may be granted.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s claims may be barred in whole or in part by the doctrines of waiver, estoppel,

laches, unclean hands, or other contractual limitations and provisions set forth in the

           .

                              THIRD AFFIRMATIVE DEFENSE
       The claims asserted against Defendant may be barred in whole or in part by reason of res



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judicata, collateral estoppel, issue preclusion or claim preclusion.

                             FOURTH AFFIRMATIVE DEFENSE

       The claims asserted against Defendant may be precluded, in whole or in part, by reason of

accord and satisfaction, payment or release. settlement and release.

                              FIFTH AFFIRMATIVE DEFENSE

       Defendant denies having breached any contractual duty alleged to be owed to Plaintiff.

                                                      ***

       WHEREFORE, Defendant respectfully requests the Court enter judgment in its favor and

against Plaintiff, that the First Amended Complaint be dismissed in its entirety with prejudice, that

Defendant recover its attorneys’ fees and costs in this action, and for such other relief as the Court

may deem just and proper.
                                               Respectfully submitted,

                                               BAYARD, P.A.

                                               /s/ Ronald P. Golden III
                                               Stephen B. Brauerman (No. 4952)
                                               Ronald P. Golden III (No. 6254)
                                               600 North King Street, Suite 400
                                               Wilmington, DE 19801
                                               (302) 655-5000
                                               sbrauerman@bayardlaw.com
                                               rgolden@bayardlaw.com

                                               Attorneys for Defendant ChanBond, LLC.
Dated: January 27, 2022




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 27, 2022, the foregoing was served

upon the following counsel of record via email:

                                     Geoffrey Graham Grivner
                                     Kody Macgyver Sparks
                                     Buchanan Ingersoll & Rooney PC
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                                     Wilmington, DE 19801
                                     302-552-4207
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                                                   /s/ Ronald P. Golden III
                                                   Ronald P. Golden III (No. 6254)
